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 8                                 UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                         No. 2:14-cr-00245-KJM
12                      Plaintiff/Respondent,
13          v.                                         ORDER
14   PEDRO LOPEZ SANCHEZ,
15                      Defendant/Petitioner.
16

17

18                  Subject to a written plea agreement based on Federal Rule of Criminal Procedure

19   11(c)(1)(C), petitioner Pedro Lopez-Sanchez pled guilty to conspiring to manufacture marijuana

20   and later was sentenced to the parties’ agreed sentence of 65 months in prison. He now seeks to

21   vacate, set aside, or correct his sentence under 28 U.S.C. § 2255 based on allegedly ineffective

22   assistance of counsel. Pet., ECF No. 99. The government moves to dismiss the petition arguing

23   Lopez-Sanchez waived his right to collaterally attack his guilty plea or alternatively that his

24   counsel’s alleged ineffectiveness did not cause him prejudice. Gov’t Mot., ECF No. 120. As

25   explained below, the court DENIES Lopez-Sanchez’s petition and DENIES as MOOT the

26   government’s motion to dismiss.

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 1   I.       BACKGROUND
 2                   The Indictment charged Lopez-Sanchez in three counts: Conspiring to
 3   manufacture at least 100 marijuana plants (Count One); assembling, manufacturing, and setting
 4   up a dangerous trap on federal property where marijuana was being manufactured (Count Two);
 5   and depredation of public lands and resources (Count Seven). Indictment, ECF No. 10, at 1-2, 7
 6   (charging violations of 21 U.S.C. § 841(a)(1), § 841 (d)(1), § 846 and § 1361). Lopez-Sanchez
 7   faced a 40-year maximum with a five-year mandatory minimum prison sentence on Count One,
 8   with concurrent ten-year maximums on Counts Two and Seven, bringing his total maximum
 9   exposure to prison time up to fifty years, with the mandatory minimum of five years triggered by
10   Count One. Id. at 7-8.
11            A. Guilty Plea and Sentencing
12                   On December 9, 2015, Lopez-Sanchez entered into a plea agreement in which he
13   agreed to plead guilty to Count One, serve a 65-month prison sentence and waive his right to
14   appeal or collaterally attack his sentence. Plea Agmt., ECF No. 61, ¶¶ II.A., VII.A. In exchange,
15   the government agreed to dismiss the other two counts against him. Id. ¶ III.A. Lopez-Sanchez
16   agreed his sentence, which slightly exceeds the statutory mandatory five-year minimum
17   ordinarily imposed on unarmed marijuana manufacturers, was warranted given aggravating
18   circumstances, id. ¶ VI.B, including a hidden booby trap consisting of “a six-foot deep human-
19   dug pit next to the [marijuana] site that contained sixteen sharpened stakes pointed upward” and
20   “four wire snares . . . one of which ensnared a law enforcement canine assisting with the search.”
21   Id. Ex. A (reciting factual basis).
22                   Lopez-Sanchez’s primary language is Spanish, and he communicated during court
23   proceedings primarily through a court-certified Spanish interpreter. A certified interpreter fully
24   translated his plea agreement and was present throughout his plea hearing. See, e.g., Dec. 9, 2015
25   H’rg Mins, ECF No. 59; Plea Agmt. ¶ 9.C (interpreter’s signature affirming interpreter “fully and
26   accurately translated the Indictment, Information, Waiver of Indictment, this Plea Agreement and
27   defendant’s rights . . . from the English language to the Spanish language for defendant.”). In his
28   plea agreement and during his plea colloquy in open court, Lopez-Sanchez affirmed he
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 1   understood the plea agreement and voluntarily agreed to it, and confirmed he was satisfied with
 2   the legal representation and advice he received. Plea Agmt. ¶ IX.B; Plea Tr. (Appendix 4, ECF
 3   No. 120-2) at 6. The prosecutor summarized the plea agreement on the record, explaining why
 4   the parties agreed on a 65-month prison sentence; the prosecutor also explained in plain language
 5   what Lopez-Sanchez’s waiver of appeal and collateral attack foreclosed. Plea Tr. at 7-9. Lopez-
 6   Sanchez confirmed in response to the court’s careful questioning the prosecutor’s summary was
 7   accurate. Id. at 9.
 8                  At the March 16, 2016 sentencing hearing, the court reviewed the parties’ agreed-
 9   upon 65-month sentence and indicated its willingness to accept the agreement as binding on the
10   court. Mar. 16, 2016 Sentencing Tr. (Appendix 6, ECF No. 120-2), at 9-11. The prosecutor
11   stated for the record that “the parties agree that the defendant’s participation in a marijuana
12   manufacturing operation that used a dugout, hidden, pit trap equipped with sharpened stakes, in
13   addition to wire snares, constitutes aggravating circumstances that warrant this upward departure
14   to 65 months incarceration.” Id. at 10. Lopez-Sanchez did not protest the sentence at any point,
15   including when offered the opportunity to allocute as was his right. Id. at 11 (Q: “Mr. Lopez,
16   anything else you would like to say to the Court at this time? A: “No.”). The court sentenced
17   Lopez-Sanchez to 65 months in prison. Id.
18          B. Lopez-Sanchez’s § 2255 Petition
19                  Lopez-Sanchez now petitions the court to vacate, set aside or reduce his sentence
20   under § 2255 on the grounds that his attorney, Clemente Jimenez, provided “poor or insufficient
21   legal counsel” in representing him. Pet. ¶ 14.A. Specifically, Lopez-Sanchez contends he
22   received “very little” assistance in obtaining a more favorable plea agreement; he was
23   “misadvised” to forfeit his right to appeal; he could only communicate with his lawyer by phone
24   and through an interpreter; his lawyer refused to provide discovery documents in Spanish; and his
25   lawyer did nothing to lower his sentence, including failing to raise as a potential mitigating factor
26   the lifelong foot injury Sanchez sustained during his arrest. Id. ¶¶ 14.A-C; see also Sanchez Aff.,
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 1   ECF No. 107, at 1-2.1 The government contends Sanchez waived his right to collaterally attack
 2   his guilty plea and sentence, that the record discloses no ineffectiveness assistance of counsel, and
 3   that even if it did, Sanchez has suffered no prejudice. Gov’t Mot. at 2. Sanchez filed two briefs
 4   responding to the government’s position. ECF Nos. 125, 133. As explained below, the court
 5   denies his petition.
 6   II.    ANALYSIS
 7              A. Whether Lopez-Sanchez Waived His Right to File this § 2255 Petition
 8                    In the Ninth Circuit, a defendant’s knowing and voluntary waiver of his statutory
 9   rights under § 2255 is enforceable against all non-waivable rights. States v. Abarca, 985 F.2d
10   1012, 1013-14 (9th Cir. 1993). Here, Lopez-Sanchez agreed to waive his right to appeal and
11   collateral attack. Plea Agmt. ¶ VII(B). This waiver, however, is unenforceable against Lopez-
12   Sanchez’s ineffective-assistance-of-counsel claims. Neither the Supreme Court nor the Ninth
13   Circuit has directly declared waivers unenforceable against “all” ineffective-assistance-of-counsel
14   claims. See Tovar v. United States, No. 09-CR-3277 BEN, 2013 WL 5564187, at *2 (S.D. Cal.
15   Oct. 7, 2013) (noting the absence of an express decision). Without clear authority to the contrary,
16   however, this court declines the government’s request to enforce such waivers against “some” if
17   not all ineffective-assistance-of-counsel claims. See Gov’t Mot. at 8-9 (citing out-of-circuit
18   authority); cf. Abarca, 985 F.2d at 1014 (“[W]e do not hold that Abarca’s waiver categorically
19   forecloses him from bringing any section 2255 proceeding, such as a claim of ineffective
20   assistance of counsel or involuntariness of waiver . . . ”) (citations omitted); United States v.
21   Pruitt, 32 F.3d 431, 433 (9th Cir. 1994) (“We doubt that a plea agreement could waive a claim of
22   ineffective assistance of counsel based on counsel’s erroneously unprofessional inducement of the
23   defendant to plead guilty or accept a particular plea bargain.”). Lopez-Sanchez’s motion is not
24   barred by waiver.2
25          1
              Lopez-Sanchez filed two identical affidavits eleven days apart. See ECF No. 106 (filed
26   Oct. 6, 2016); ECF No. 107 (filed Oct. 17, 2016).
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27           District courts within this circuit frequently consider similar challenges despite a
     defendant’s voluntarily waiver of the right to bring a collateral attack under § 2255. See, e.g.,
28   United States v. Lopez-Vaal, No. 3:16-CR-00995-GPC, 2018 WL 525819, at *5 (S.D. Cal.
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 1           B. Ineffective Assistance of Counsel: The Strickland Test
 2                  To successfully set aside or vacate his conviction and sentence based on
 3   ineffective assistance of counsel, Sanchez must satisfy Strickland’s two-pronged test by showing
 4   (1) objectively unreasonable performance by his counsel and (2) prejudice caused by these
 5   professional errors. See Strickland v. Washington, 466 U.S. 668, 687 (1984); see Torrey v.
 6   Estelle, 842 F.2d 234, 237 (9th Cir. 1988) (applying Strickland to habeas proceeding involving
 7   collateral consequences of plea).
 8                  Strickland’s first prong, which asks whether counsel’s representation “fell below
 9   an objective standard of reasonableness,” is assessed using “prevailing professional norms” of the
10   legal community, as reflected in “American Bar Association standards and the like . . . .”
11   Padilla v. Kentucky, 559 U.S. 356, 366 (2010) (citing Strickland, 466 U.S. at 688). Strickland’s
12   second prong asks whether “there is a reasonable probability that, but for counsel’s
13   unprofessional errors, the result of the proceeding would have been different.” Strickland,
14   466 U.S. at 694. As relevant here, Sanchez must demonstrate that, absent his attorney’s errors,
15   Sanchez “‘would either have gone to trial or received a better plea bargain.’” United States v.
16   Rodriguez-Vega, 797 F.3d 781, 788 (9th Cir. 2015) (quoting United States v. Howard, 381 F.3d
17   873, 882 (9th Cir. 2004)). This two-factor test is demanding. Padilla, 559 U.S. at 370
18   (“Surmounting Strickland’s high bar is never an easy task.”) (citations omitted); cf. Strickland,
19   466 U.S. at 689 (“Judicial scrutiny of counsel’s performance must be highly deferential[.]”).
20                  Here, Lopez-Sanchez cannot satisfy either Strickland prong. He alleges his
21   attorney provided “poor or insufficient legal advice” in representing him; provided “very little
22   assistance” and “very little information”; “misadvised” him to forfeit his appeal rights;
23

24   Jan. 24, 2018) (“Defendant’s waiver of his right to collaterally attack his sentence is not effective
     with respect to claims of ineffective assistance of counsel.”); Mariscal v. United States,
25   No. 3:14-CR-02460, 2017 WL 1346641, at *1 (S.D. Cal. Apr. 11, 2017); United States v. Witts,
26   No. CR S-06-0258 KJM DAD, 2011 WL 6056908, at *2 (E.D. Cal. Dec. 6, 2011), report and
     recommendation adopted, No. CR S-06-0258 KJM DAD, 2012 WL 1081169 (E.D. Cal. Mar. 30,
27   2012); Nelson v. United States, Nos. CV 09–0090 AWI & CR 07–0134 AWI, 2009 WL 361954,
     at *7 (E.D. Cal. Feb.12, 2009); Meraz v. United States, Nos. 05 CV 0370 AWI & CR F 04–5401
28   AWI, 2007 WL 4239510, at *1 (E.D. Cal. Dec. 3, 2007).
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 1   communicated with him only “through an interpreter by phone”; refused to translate discovery
 2   documents into Spanish for him; did nothing to lower his sentence or obtain a more favorable
 3   plea agreement; and never mentioned his dog bite injury as a mitigating factor. Pet. ¶¶ 14.A-C;
 4   Sanchez Aff. at 1-2. As explained below, these allegations and the corresponding record do not
 5   cover conduct falling below “an objective standard of reasonableness,” and even if they did,
 6   Sanchez has not shown any resulting prejudice.
 7             1. Forfeiting his Appeal Rights
 8                  Lopez-Sanchez’s vague allegation that his attorney “misadvised” him to waive his
 9   appeal and collateral attack rights does not support an ineffective assistance of counsel claim.
10   Pet. ¶ 14.A; Sanchez Aff. at 1. Sanchez neither explains why this advice was misplaced nor how
11   it prejudiced him. See generally Pet.; Sanchez Aff.; Reply, ECF No. 125. The waiver of his right
12   to appeal or collaterally attack his sentence was a clear and an integral part of the quid pro quo
13   embodied in his plea agreement: In exchange for a reduction of his prison sentence and dismissal
14   of Counts Two and Seven, Lopez-Sanchez expressly waived any right to appeal or bring a
15   collateral attack, challenging “any aspect of the guilty plea, conviction or sentence, except for
16   non-waivable claims[.]” Plea Agmt. ¶ VII.B.
17                  Despite Lopez-Sanchez’s view that “most American citizens would never sign a
18   plea with such a clause,” Reply at 1, waivers are frequently included in plea deals and are
19   supported by public policy considerations. See United States v. Littlefield, 105 F.3d 527, 530 (9th
20   Cir. 1997) (“We have repeatedly noted that public policy strongly supports plea agreements that
21   include an appeal waiver.”) (citations omitted). For instance, waivers of appeal rights “usefully
22   preserve the finality of judgments and sentences imposed pursuant to valid plea agreements[,]”
23   United States v. Anglin, 215 F.3d 1064, 1066 (9th Cir. 2000), which in turn benefits defendants
24   who obtain lower sentences in exchange for these waivers, see Tovar, 2013 WL 5564187, at *1
25   (in exchange for a waiver the “defendant gets a lower sentencing recommendation and the court is
26   more willing to agree to a lower sentence than would be the case absent the waivers”). Counsel’s
27   advising Lopez-Sanchez to waive his appeal rights conformed to objectively reasonable norms.
28   Advising him against waiving those rights likely would have procured a less favorable plea deal.
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 1   Moreover, Lopez-Sanchez’s complaint that he was afforded less rights because he is an
 2   “immigrant,” Reply at 1, finds no support in the record. The court finds no prejudice based on the
 3   alleged “misadvice” Lopez-Sanchez received to forfeit his appeal rights.
 4             2. Length of his Sentence
 5                  Lopez-Sanchez’s allegation that “the amount of time I should serve was another
 6   example of the ineffectiveness of this lawyer,” Sanchez Aff. at 1, is likewise unavailing. Lopez-
 7   Sanchez contends his attorney erroneously advised him he would not get “more than 3 years,”
 8   and then never tried to reduce the length of the 65-month sentence provided for in the plea
 9   agreement. Id. He also argues his foot injury arising from a police dog bite he sustained during
10   arrest should have been argued as a mitigating factor to reduce his prison term. Id. The court is
11   unpersuaded.
12                  If Lopez-Sanchez’s attorney had raised the dog bite injury as a mitigating factor at
13   sentencing, the argument would have contravened the plea agreement, which expressly forbade
14   Lopez-Sanchez from “seek[ing] any downward departure, adjustment, variation, or reduction of
15   his agreed-upon sentence of 65 months incarceration as set forth in this plea agreement for any
16   reason.” Plea Agmt. ¶ VI.B. This all-encompassing language precludes even arguing for a
17   downward departure or variance based on mitigating injuries.
18                  Moreover, after signing the plea agreement and affirming he understood
19   everything within it, Lopez-Sanchez stated under oath in open court that he was fully satisfied
20   with the advice, counsel, and representation of his attorney. Plea Tr. at 6. This belies his
21   argument that his attorney “did not really defend him in anyway.” Pet. ¶ 14.A. Within his plea
22   agreement, Lopez-Sanchez affirmed, “I am satisfied with the representation and effectiveness of
23   my attorney in this case. I do not need or desire any additional time to review this Plea Agreement
24   or to discuss it with my attorney.” Plea Agmt. at 12. Later, at sentencing, when given an
25   opportunity to provide an allocution, Lopez-Sanchez declined. Sentencing Tr. at 11. If Lopez-
26   Sanchez had any qualms about the length of his sentence or his attorney’s lack of assistance in
27   obtaining a shorter sentence, he had ample opportunity to register his discontent on the record.
28   /////
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 1   As Strickland warned, “[i]t is all too tempting for a defendant to second-guess counsel’s
 2   assistance after conviction or adverse sentence[.]” 466 U.S. at 689.
 3                  Finally, the favorable terms of the plea deal itself controvert Sanchez’s claim that
 4   his attorney did nothing to negotiate a better deal. At the time of plea deal, Sanchez faced up to
 5   fifty years in prison, with mandatory five-years minimum. Indictment at 7-8. In exchange for
 6   pleading guilty to Count One and waiving his right to appeal or collaterally attack his sentence,
 7   the government dismissed the remaining two counts on the condition that his sentence be 65
 8   months in prison. Plea Agmt. ¶ VII(B). The slight increase from the five-year statutory
 9   mandatory minimum for the single count was supported by the aggravating circumstances to
10   which the parties stipulated. See id. ¶¶ I.B., II.A., V.A, VI.B. These aggravating circumstances,
11   explained for the record more than once, included using “a six-foot deep human-dug pit next to
12   the [marijuana] site that contained sixteen sharpened stakes” and “four wire snares . . . one of
13   which ensnared a law enforcement canine assisting with the search.” Plea Agmt. Ex. A; Plea Tr.
14   at 7; Sentencing Tr. at 10 . Given these aggravating circumstances, Sanchez’s plea deal was
15   objectively reasonable. Cf. Padilla, 559 U.S. at 372.
16             3. Language Barrier and Communication Deficiencies
17                  Finally, the record also belies Lopez-Sanchez’s claim that language barriers and
18   communication hardships meant he received ineffective assistance of counsel. Pet. ¶ 14.A;
19   Sanchez Aff. at 1. To support this claim, Lopez-Sanchez contends “the plea was not in Spanish
20   either, so I was unable to understand its provisions”; his communication with his lawyer in
21   general “was very bad, most of the time . . . and it was barely understandable” and that when he
22   “requested a version [of discovery] in Spanish, [his] lawyer said it was too long, and was too
23   much work.” Sanchez Aff. at 1.
24                  During the thorough Rule 11 colloquy before the court accepted his guilty plea,
25   Lopez-Sanchez was assisted by a certified Spanish interpreter; Lopez-Sanchez told the court he
26   understood what was happening in court that day and swore to speak up if he did not understand
27   anything. Plea Tr. at 3. He also swore he would answer the court’s questions truthfully. Id. He
28   confirmed he had fully reviewed the plea agreement with an interpreter and considered its
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 1   contents before signing it. Id. at 4-6. He confirmed he understood the factual basis for his plea
 2   agreement, that this basis was accurate and had been read to him in Spanish before he signed it.
 3   Id. at 19-20. He confirmed he understood the sentence the parties agreed on, and that he was
 4   entering his guilty plea freely and voluntarily. Id. at 6. He twice confirmed, without hesitation,
 5   that he was satisfied with his attorney’s representation. Id. at 6 (Q: “Are you fully satisfied with
 6   the advice, counsel and representation that Mr. Jimenez has given you in this case?” A: “Yes.”);
 7   Plea Agmt. ¶ IX.A (affirming “I am satisfied with the representation and effectiveness of my
 8   attorney in this case.”).
 9                   Had Lopez-Sanchez felt his language barrier and communication challenges
10   prevented him from understanding the plea agreement or the length of his sentence, and that his
11   attorney offered “very little assistance” and “did not really defend [him] in any way,” he had the
12   opportunity to let the court know. Lopez-Sanchez’s belated contention that he merely “went
13   through the motions” during the colloquy because he could not understand English, see Reply at
14   1, does not meet Strickland’s high standards, given that his statements in open court, which were
15   not coerced, carry great weight. See, e.g., United States v. Anderson, 993 F.2d 1435, 1438 (9th
16   Cir. 1993) (“Statements made by a criminal defendant contemporaneously with his plea should be
17   accorded great weight because solemn declarations made in open court carry a strong
18   presumption of verity.”) (quotation marks and brackets omitted). Moreover, Lopez-Sanchez
19   presents no persuasive argument to suggest that if he had spoken to his attorney in person more
20   often, or received discovery documents and a plea agreement translated into written Spanish, the
21   outcome here would be any different.
22                   Lopez-Sanchez has not shown he received ineffective assistance of counsel. Even
23   if he had, he was not prejudiced. Lopez-Sanchez has not met Strickland’s heavy burden.
24   III.    CERTIFICATE OF APPEALABILITY
25                   No certificate of appealability will issue. A certificate of appealability may issue
26   under 28 U.S.C. § 2253 “only if the applicant has made a substantial showing of the denial of a
27   constitutional right.” 28 U.S.C. § 2253(c)(2). The Supreme Court has instructed that a petitioner
28   must show “reasonable jurists could debate whether . . . the petition should have been resolved in
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 1   a different manner or that the issues presented were adequate to deserve encouragement to
 2   proceed further.” Slack v. McDaniel, 529 U.S. 473, 484 (2000). Lopez-Sanchez has made
 3   neither showing. 28 U.S.C. § 2253(c)(2). No reasonable jurists would find this court’s
 4   assessment of his claims debatable or wrong.
 5   IV.    CONCLUSION
 6                 The court denies Lopez-Sanchez’s § 2255 petition to vacate or reduce his sentence
 7   on account of constitutionally ineffective assistance of counsel. The government’s motion, ECF
 8   No. 120, and Lopez-Sanchez’s request for a status update, ECF No. 141, are DENIED as MOOT.
 9                 IT IS SO ORDERED.
10                 This resolves ECF Nos. 99, 120 and 141.
11   DATED: March 12, 2018.
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                                               UNITED STATES DISTRICT JUDGE
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